Case 1:17-cv-00265-JJM-PAS Document 73 Filed 07/09/18 Page 1 of 2 PageID #: 833



                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF RHODE ISLAND


  DR. DAMIAN MEDICI,

                 Plaintiff,

  v.
                                                               C.A. NO. 17-cv-00265-M-PAS
  LIFESPAN CORPORATION,
  RHODE ISLAND HOSPITAL, and MICHAEL
  SUSIENKA,

                 Defendants.


       NOTICE OF CHANGE OF ADDRESS AND OTHER CONTACT INFORMATION

         This is to provide notice that the address and telefax number for undersigned counsel, who

 is counsel for the plaintiff, has changed to the following:

                        738 Main Street
                        Hingham, MA 02043
                        Telephone: (781) 385-7230
                        Facsimile: (781) 740-7207

         Undersigned counsel’s email address remains the same.

                                                       Respectfully submitted,

                                                       The Plaintiff,

                                                       DR. DAMIAN MEDICI,
                                                       By his attorney,

                                                       /s/ William T. Harrington
                                                       William T. Harrington (BBO# 564445)
                                                       738 Main Street
                                                       Hingham, MA 02043
                                                       (781) 385-7230
                                                       wharringtonlaw@gmail.com
 Dated: July 9, 2018
Case 1:17-cv-00265-JJM-PAS Document 73 Filed 07/09/18 Page 2 of 2 PageID #: 834



                                      CERTIFICATE OF SERVICE

          I hereby certify that this document(s) filed through the ECF system will be sent electronically to
 the registered participants as identified on the Notice of Electronic Filing and paper copies will be sent to
 those indicated as non-registered participants via first class mail, postage prepaid, on this date.


                                                            /s/ William T. Harrington




                                                       2
